            Case 1:17-cv-12286-GAO Document 27 Filed 01/12/18 Page 1 of 4



                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

    THOMAS GALLAGHER, Individually and on              )   No.: 1:17-CV-12288-GAO
    Behalf of All Others Similarly Situated,           )
                                                       )
                                          Plaintiff,   )
                                                       )
                                                       )
                          v.                           )
                                                       )
                                                       )
                                                       )
    OCULAR THERAPEUTIX, INC. et al.,                   )
                                       Defendants.     )
                                                       )
                                                       )
                                                       )
    DYLAN CARAKER, Individually and on                 )   No.: 1:17-CV-12146-GAO
    Behalf of All Others Similarly Situated,           )
                                                       )
                                          Plaintiff,   )
                                                       )
                                                       )
                          v.                           )
                                                       )
                                                       )
                                                       )
    OCULAR THERAPEUTIX, INC. et al.,                   )
                                       Defendants.     )
                                                       )
                                                       )
    SHAWNA KIM, Individually and on Behalf of          )   No.: 1:17-CV-12286-GAO
    All Others Similarly Situated,                     )
                                                       )
    Plaintiff,                                         )
                                                       )
                                                       )
    v.                                                 )
                                                       )
                                                       )
                                                       )
    OCULAR THERAPEUTIX, INC. et al.,                   )
                                       Defendants.     )
                                                       )
                                                       )

{00265085;1 }
            Case 1:17-cv-12286-GAO Document 27 Filed 01/12/18 Page 2 of 4



                THE OCULAR INVESTOR GROUP’S AND KHALED RAMADAN’S
                     MOTION FOR APPOINTMENT AS CO-LEAD PLAINTIFFS,
                   APPROVAL OF THEIR SELECTION OF LEAD COUNSEL, AND
                      CONSOLIDATION OF ALL RELATED ACTIONS


         William L. Stephens, Kavita Mehta, and Oleg Tkalych (collectively, the “Ocular Investor

Group”) and Khaled Ramadan (“Ramadan”) hereby submit this motion for (1) appointment as lead

plaintiffs in the above-referenced related actions; (2) approval of their selection of Pomerantz LLP

(“Pomerantz”) and Glancy Prongay & Murray LLP (“Glancy”) as lead counsel for the class and

Andrews DeValerio LLP (“Andrews DeValerio”) as liaison counsel for the class; and (3)

consolidation of all related actions. On September 5, 2017, the Ocular Investor Group and

Ramadan separately moved for appointment as lead plaintiff in the above-referenced related

                                                                    1
actions while the action was pending in New Jersey. (ECF Nos. 16, 20.) On the same date, four

other movants – Yau-Hung Chow; Kenneth Hermson, Jean Claude Dumont, Penny Poirier, and

Cynthia Troy (collectively, the “Chow Group”), Thomas Gallagher (“Gallagher”), Osi Peters

(“Peters”) and Glenn Stephenson (“Stephenson”), also moved for lead plaintiff. (ECF Nos. 13,

17, 18, 19.) Since then, the Chow Group, Gallagher, Peters, and Stephenson—i.e., all movants

other than the Ocular Investor Group and Ramadan—have subsequently either withdrawn their

respective motions or filed notices of non-opposition to the competing motions. (ECF Nos. 21,

23, 26, 43.)

         The Ocular Investor Group and Ramadan have collectively agreed that, rather than

continue to litigate the competing motions, it is in the best interests of the Class to amicably resolve




1
    ECF references are to the docket in the action filed by Plaintiff Thomas Gallagher, 17-12288.


{00265085;1 }                                  2
            Case 1:17-cv-12286-GAO Document 27 Filed 01/12/18 Page 3 of 4



the motions and pool their resources to effectively and efficiently prosecute the Related Actions.

Therefore, the Ocular Investor Group and Ramadan respectfully request that:

    1. The Court appoint Ocular Investor Group and Ramadan as co-lead plaintiffs for the

         putative Class in the above-captioned related actions;

    2. The Court approve the Ocular Investor Group and Ramadan’s selections of Pomerantz

         and Glancy as co-lead counsel for the putative Class and Andrews DeValerio as liaison

         counsel for the putative Class; and

    3. The Court consolidate the above-captioned related actions.



Dated: January 12, 2018
                                                   Respectfully submitted,

                                                   ANDREWS DEVALERIO LLP

                                                   /s/ Glen DeValerio
                                                   Glen DeValerio (BBO #122010)
                                                   Daryl Andrews (BBO #658523)
                                                   265 Franklin Street, Suite 1702
                                                   Boston, MA 02110
                                                   (617) 936-2796
                                                   glen@andrewsdevalerio.com
                                                   daryl@andrewsdevalerio.com

                                                   Proposed Liasion Counsel for the Class

                                                   POMERANTZ LLP

                                                   /s/ Jeremy A. Lieberman
                                                   Jeremy A. Lieberman (admitted pro hac vice)
                                                   J. Alexander Hood II
                                                   600 Third Avenue, 20th Floor
                                                   New York, NY 10016
                                                   Telephone: (212) 661-1100
                                                   Facsimile: (212) 661-8665
                                                   jalieberman@pomlaw.com
                                                   ahood@pomlaw.com




{00265085;1 }                                  3
            Case 1:17-cv-12286-GAO Document 27 Filed 01/12/18 Page 4 of 4



                                                    Counsel for William L. Stephens, Kavita
                                                    Mehta, and Oleg Tkalych and Proposed Co-
                                                    Lead Counsel for the Class


                                                    GLANCY PRONGAY & MURRAY LLP

                                                    s/ Lesley F. Portnoy
                                                     Lesley F. Portnoy
                                                     Lionel Z. Glancy
                                                     Robert V. Prongay
                                                     1925 Century Park East, Suite 2100
                                                     Los Angeles, California 90067
                                                     Tel: (310) 201-9150
                                                     Fax: (310) 201-9160

                                                     Counsel for Khaled Ramadan and Proposed
                                                     Co-Lead Counsel for the Class



                                  CERTIFICATE OF SERVICE

         I hereby certify that this document filed through the ECF system will be sent electronically

to the registered participants as identified on the Notice of Electronic Filing on January 12, 2018.


                                               /s/ Glen DeValerio
                                               Glen DeValerio




{00265085;1 }                                 4
